391 F.2d 266
    Jack SEGAL, Appellant,v.UNITED STATES of America, Appellee.
    No. 18540.
    United States Court of Appeals Eighth Circuit.
    March 15, 1968.
    
      Keith D. Kennedy, St. Louis Park, Minn., for appellant and filed brief.
      Patrick J. Foley, U. S. Atty., Minneapolis, Minn., for appellee and filed brief.
      Before VOGEL, Senior Circuit Judge; BLACKMUN and LAY, Circuit Judges.
      PER CURIAM.
    
    
      1
      The appellant was convicted of willfully failing to pay the $50 occupational tax imposed on persons engaged in the business of accepting wagers, which failure violated 26 U.S.C.A. § 4411 and is made punishable by 26 U.S.C.A. § 7203. In view of the recent Supreme Court decisions in Marchetti v. United States, January 29, 1968, 390 U.S. 39, 88 S.Ct. 697, 19 L.Ed.2d 889, and Grosso v. United States, January 29, 1968, 390 U.S. 62, 88 S.Ct. 709, 19 L.Ed.2d 902, and following our application of those cases in Harris v. United States, 8 Cir., 390 F.2d 616, the judgment of conviction here cannot stand and is reversed in its entirety.
    
    